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LUMINANT GENERATION COMPANY LLC

Custamer Invoice Number Purchase Order Number | Amount (SUM) Contract $03(b}(9)
25112 LUMINANT - NORTH LAKE R756802 CREDC441SU $ 7.80 1C0760210C

25114 LUMINANT - MARTIN LAKE SES R756803 $0389507TRI $ 1.35 |(CO76G210C

25119 LUMINANT - BECORDOVA SES 3152084 112430 S 101.00 [CO760211C

25119 LUMINANT - DECORDOVA SES 3152455 114945 6 $94.00 |CO760210C x
25119 LUMINANT - DECORDOVA SES 3163486 114946 s 181.00 |CO760210C x
25119 LUMINANT - DECORDOVA SES 3165721 117765 S 181.00 1CO760210C x
25119 LUMINANT - DECORDOVA SES R750338 CREDC5215U g 150,04 |CO760210C

25119 LUMINANT - DECORDOVA SES R756804 CREDCS215U § 154.56 [co7G0210C

25121 LUMINANT - LAKE CREEK RIS6805 CREDCS31SU 5 109.26 |co760210C

25125 LUMINANT PERMIAN BASIN SES 3155111 107620-V2 $ 8,400.00 |CO760210C

25125 LUMINANT PERMIAN BASIN SES 3150079 114013 § 225.00 |C6760210C

25125 LUMINANT PERMIAN BASIN SES 31h 1895 115504 § 225.00 |CO760210C

25125 LUMINANT PERMIAN BASIN SES 3165723 118041 § 225.00 [CO760210C x
25125 LUMINANT PERMIAN BASIN SES 3189664 4402601 $ 450,00 |CO760210C x
25125 LUMINANT PERMIAN BASIN SES R750340 CREDC3615U g 273.26 |CO760210C

25125 LUMINANT PERMIAN BASIN SES 2756806 CREDC361SU 5 265.98 [CO7602 10C

35126 LUMINANT MARTIN LAKE SES 3093155 RETURN S (508.74) COTEO21IC

25126 LUMINANT MARTIN LAKE SES 3140209 96871 g 1,686.25 |CO760211C

25126 LUMINANT MARTIN LAKE SES 3140209 S (1.356.99)1CO760211C

25126 LUMINANT MARTIN LAKE SES 3140791 $6871 5 (317.49)/CO7602 110

25126 LUMINANT MARTIN LAKE SES 3151952 107331 5 295.66 1CO760211C

25126 LUMINANT MARTIN LAKE SES 3151953 108078 S 1,368.76 [CO760211C

25126 LUMINANT MARTIN LAKE SES 9151954 99541 3 440.80 [Purchase Order

35126 LUMINANT MARTIN LAKE SES 3151955 109276 S$ 1,365.58 |CO760210C

25126 LUMINANT MARTIN LAKE SES 3352537 408995 5 160.92 1CO760210C

25126 LUMINANT MARTIN LAKE SES 3152538 109835 S 3,566.46 1CO760211C

25126 LUMINANT MARTIN LAKE SES 3153791 110814 § 674.05 [CO760210C

25126 LUMINANT MARTIN LAKE SES 3153792 5 1,516.03 |CO760210C

25126 LUMINANT MARTIN LAKE SES 3155112 108726 6 997.85 |CO760210C

25126 LUMINANT MARTIN LAKE SES 3155636 103846 s 1355.40 (CO760211C

25126 LUMINANT MARTIN LAKE SES 3155637 108995 5 118.80 1C0760216C

25126 LUMINANT MARTIN LAKE SES 3155638 109835 5 1,379.59 |CO760211C

25126 LUMINANT MARTIN LAKE SES 3155639 110232 $ 900.00 |co760210C

25126 LUMINANT MARTIN LAKE SES 3155640 110487 S 92.13 1CO760210C

25126 LUMINANT MARTIN LAKE SES 3155641 110595 5 20.63 1CO760211C

25126 LUMINANT MARTIN LAKE SES 3155642 110824 § 613.44 |CO760210C

25126 LUMINANT MARTIN LAKE SES 3155643 111237 5 225.60 |CO760210€

25126 LUMINANT MARTIN LAKE SES 3155644 111447 $ 237.60 [CO760210C

25126 LUMINANT MARTIN LAKE SES 3155645 111746 s 1,785.84. 1CO760211C

25126 LUIMINANT MARTIN LAKE SES 3156840 112597 S 949.35 |CO760210C

25126 LUMINANT MARTIN LAKE SES 3158085 111603 § 375.00 1€07602 10C

25126 LUMINANT MARTIN LAKE SES 3158086 112157 S 225.00 1CO760210C

25126 LUMINANT MARTIN LAKE SES 3158087 112232 5 225.00 1CO760210C

75126 LUMINANT MARTIN LAKE SES 3158088 112438 S 222.25 1C0760210C

25126 LUMINANT MARTIN LAKE SES 3159014 108650 5 1,243.49 |CO760211C

25126 LUMINANT MARTIN LAKE SES 3159018 111661 § 1,592.50 [CO7B0211C

75126 LUMINANT MARTIN LAKE SES «13159016 112105 S 1,490.83 [CO760211C

25126 LUMINANT MARTIN LAKE SES 9159017 111657 s 475.00 1CO760210C

25126 LUMINANT MARTIN LAKE SES 3159018 113648 5 1,243.66 1CO760210C

35126 LUMINANT MARTIN LARE SES 3159548 114054 5 752.34 1CO760210C

25126 LUMINANT MARTIN LAKE SES 3161264 115228 5 1,350.14 |CO7H0210C

25126 LUMINANT MARTIN LAKE SES 3167897 113573 § 896.75 |CO760211C

25126 LUMINANT MARTIN LAKE SES 3161898 113839 5 174.96 1CO760210C

25126 LUMINANT MARTIN LAKE SES 3161399 113865 $ 408.86 [CO7G60210C

25126 LUMINANT MARTIN LAKE SES 316 1900 113984 § 21.19 [co760211C

75126 LUMINANT MARTIN LAKE SES 3161901 114560 S 450.00 |CO760210C

25126 LUMINANT MARTIN LAKE SES 3161902 115250 5 450.00 |CO760210C

25126 LUMINANT MARTIN LAKE SES 3161903 115411 8 451.19 |co760210C

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75126 LUMINANT MARTIN LAKE SES 3163487 117054 § 941.04 [CO760210C x

25126 LUMINANT MARTIN LAKE SES 3164069 117073 § 1,244.45 (C0760210C x

35126 LUMINANT MARTIN LAKE SE5 3164571 115461 5 $044.80 [CO760211C x

25126 LUMINANT MARTIN LAKE SES 3164572 T6616 5 237,60 (CO760210C x

35126 LUMINANT MARTIN LAKE SES 3164573 7p9108 § 745.81 |CO760211C x

25126 LUMINANT MARTIN LAKE SES 3167844 117612 S 269.00 (CO760211C x

75126 LUMINANT MARTIN LAKE SES 3167845 118113 § 786.00 |CO760211C x

35126 LUMINANT MARTIN LAKE SES 3167846 118386 5 20.63 (CO760211C x

35126 LUMINANT MARTIN LAKE SES 3167847 118684 § 58.20 (CO760211C x

25126 LUMINANT MARTIN LAKE SES 167848 119274 $ 746.74 |(CO76O210C x

25126 LUMINANT MARTIN LAKE SES 3167849 119297 § 529,92 |CO760210C x

35126 LUMINANT MARTIN LAKE SES 3167850 119328 5 1,505.08 [CO760210C x

25126 LUMINANT MARTIN LAKE 5ES 3167851 119368 § 1.116.39 [co760210¢ x

25126 LUMINANT MARTIN LAKE SES 3169143 119409 $ 1,846.12 |CO760210C x

35126 LUMINANT MARTIN LAKE SCS 3169144 120470 S 35.64 [COT60210C x

75126 LUMINANT MARTIN LAKE SES 3169145 120472 S 668.31 1CO760210C x

25126 LUMINANT MARTIN LAKE SES 3170343 118894 $ 2,759.14 ICO760211C x

25126 LUMINANT MARTIN LAKE SES 3170344 139219 § 1,119.38 [co760211C x

75125 LUMINANT MARTIN LAKE SES 3170345 119389 3 225.00 |CO760210C x

25126 LUMINANT MARTIN LAKE SES 3170346 119409 g 322.06 (C0760210C x

25125 LUMINANT MARTIN LAKE SES 3170347 120678 S 755.15 1CO760210C x

25126 LUMINANT MARTIN LAKE SES 3170348 120552 5 191,22 (CO7G0211C x
25126 LUMINANT MARTIN LAKE SES 3170349 120734 S 1,817.73 (CO7602L1C X
75126 LUMINANT MARTIN LAKE SES 3170350 120800 6 191.22 [CO760211C X

25126 LUMINANT MARTIN LAKE SES 3170351 420812 g 1,166.40 [COT6O211C x

25126 LUMINANT MARTIN LAKE SES 3170352 126994 S 118.80 CO76G210C x

25126 LUMINANT MARTIN LAKE SES 9170353 NEED § 7,055.26 (CO76U210C x

351.26 LUMINANT MARTIN LAKE SES 3170354 NEED g 1121.58 (CO76C210C x

75126 LUMINANT MARTIN LAKE 5ES 2750341 CREDCO31SU § 6.471.358 |CO760210C

25126 LUMINANT MARTIN LAKE SES R7S6807 CREDCO31SU $ 6,374.34 (CO7G60210C

25128 LUMINANT MONTICELLO SES 2930378 § (3.84) |CO7602 100

35128 LUMINANT MONTICELLO SES 2974569 5 (0.61) CO76C2 LOC

35128 LUMINANT MONTICELLO SE5 2974573 S (14.40) CO760210C

25128 LUMINANT MONTICELLO SES 3027136 5 (121.02)1CO7802 11C

35128 LUMINANT MONTICELLO SES 3142132 100644 $ 1,022.50 [CO760211C

25128 LUMINANT MONTICELLO SES 3142132 5 {998,84} |CO7EQ211C

35128 LUMINANT MONTICELLO SES 3143917 100644 g (15 O0)ICO760211C

75128 LUMINANT MONTICELLO SES 3152539 104048 S 1,346.49 1CO760711C

25128 LUMINANT MONTICELLO SES 3182540 106071 § $25.84 (CO760211C

75128 LUMINANT MONTICELLO SES 3152541 108776 S 90.76 CO7EC21IC

75128 LUMINANT MONTICELLO SES 3153793 105334 $ 987,50 [CO702116

35128 LUMINANT MONTICELLO SES 3153794 108072 S 987.50 (CO760211C

35128 LUMINANT MONTICELLO SES 3153795 708072 5 110 58 [cO760211C

35128 LUMINANT MONTICELLO SES 3153796 110134 5 356.40 |CO760220C

35128 LUMINANT MONTICELLO SES 3154426 98914 5 4,954.12 (CO 7602100

25128 LUMINANT MONTICELLO SES 3157505 4112251 S 237.60 |CO76OZ10C

25128 LUMINANT MONTICELLO SES 3158089 12812 g 314.29 [CO760211C

25128 LUMINANT MONTICELLD SES 3160594 113356 3 936.14 (CO7EO210C

75128 LUMINANT MONTICELLO SES 3160595 114309 § 1,518.18 [CO760210C

25128 LUMINANT MONTICELLO SES 3161265 114878 5 225.00 (CO76C210C

25128 LUMINANT MONTICELLO SES 3164070 121879 $ 686.96 |CO76C2LIC x

75128 LUMINANT MONTICELLO SES 3164071 114787 5 800.00 |C0760210C x

35128 LUMINANT MONTICELLO SES 3164072 118777 5 450.00 |CO760210C x

35128 LUMINANT MONTICELLO SES 3164073 116093 § 237.50 (CO7H02 10C x

75128 LUMINANT MONTICELLO SES 3166746 113977 5 58.35 |COT60211C x

35128 LUMINANT MONTICELLO SES 3166747 118454 5 587.50 [CO7EG21IC x

25128 LUMINANT MONTICELLO SES 3167257 116395 s 875.84 [C7H0211C x

35128 LUMINANT MONTICELLO SES 3167258 117063 $ 69.30 [COTegz11C x

25128 LUMINANT MONTICELLO SES. 316/259 117606 $ 24.75 [CO760211C x
35128 LUMINANT MONTICELLO SES 3168501 117743 § 1,740.60 |CO760211C X

125128 LUMINANT WV MONTICELLO SES 3168502 119165 $ 752.22 |COT6O210C x

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25128 LUMINANT MONTICELLO SCS 3169146 116395 $ 987.50 |CO7G0211C x
25128 LUMINANT MONTICELLO SES 3169147 117103 S 88.06 |CO760211C x
25128 LUMINANT MONTICELLO SES 3169148 118827 § 45.38 ;CO760211C x
25128 LUMINANT MONTICELLO SES 3170355 119407 5 225.00 1CO760210C x
25128 LUMINANT MONTICELLO SES 3270356 110910 - VER 2 5 4,759.71 |CO760210C x
25128 LUMINANT MONTICELLO SES R750342 CREDCO218U $ 3,412.99 |CO760210C
25128 LUMINANT MONTICELLO 3€S R7SEROR CREDCO21SU $ 3,343.34 |CO76O210C
25130 LUMINANT BIG BROWN SES 3033358 CREDCO1Z5U § 54.60 |(CO760210C
25130 LUMINANT BIG BROWN SES 3103533 75073 5 3,20 |CO7602 LOC
251306 LUMINANT BIG BROWN SES 3130474 90027 $ (42.00)/C0760211C
25130 LUMINANT BIG BROWN SES 3144586 100577 $ 3,769.45 |CO7E0211C
25130 LUMINANT BIG BROWN SES 3152542 98426 $ $52.00 |CO760211C
25130 LUMINANT BIG BROWN SES 3152543 108709 $ 450.00 |CO760210C
25120 LUMINANT BIG BROWN SES 3155646 109970 $ 450.06 |CO760210C
25136 LUMINANT BIG BROWN SF5 3155647 110754 $ 499.52 |€O760210C
25130 LUMINANT BIG BROWN SES 3155648 111417 $ 225.00 |CO760210C
25130 LUMINANT BIG BROWN SES 3155649 111627 5 450.00 |CO760210C
25130 LUMINANT BIG BROWN SES 3155650 111626 $ 900.00 |CO760210€
25130 LUMINANT BIG BROWN SES 3162935 114458 S 112.86 |CO760210C x
25130 LUMINANT BIG BROWN SES 3162936 115222 $ 225.00 |CO7602 10C x
25130 LUMINANT BIG BROWN SES 3162937 113526 $ 2,397.94 ICO7G0211C x
25130 LUMINANT BIG BROWN SES 3162938 115215 5 124.68 |CO7602 10C x
25130 LUMINANT BIG BROWN SCS 3162939 113526 5 2,317.20 |CO760211C x
25130 LUMINANT BIG BROWN SES 3162940 113526 $ 470.30 (CO760211C x
25130 LUMINANT BIG BROWN SES 9162943 113526 5 1889.10 |CO760211C x
25130 LUMINANT BIG BROWN SES 316294? 413526 § 1,044.00 [CO760211C x
251.36 LUMINANT BIG BROWN SES 3162943 113526 5 148.20 |CO760211C x
25130 LUMINANT BIG BROWN SES 3162944 113526 $ 1,146.30 [CO760211C x
25130 LUMINANT BIG BROWN SES 113526 $ 2,441.00 |CO760211C x
25130 LUMINANT BIG BROWN SES 113526 5 1,693.20 |CO760210C X
25130 LUMINANT BIG BROWN SES 114692 $ 16.50 |CO760Z 11C x
25136 LUMINANT BIG BROWN SES 3164074 116951 8 302.40 |CO760210C x
25130 LUMINANT BIG BROWN SES 3164075 117268 5 100.34 |CO760210C x
25130 LUMINANT BIG BROWN SES 3166748 113526 $ 4,637.50 |CO760211C x
25130 LUMINANT BIG BROWN SES 3166749 113526 $ 3,079.20 |CO760211C x
25130 LUMINANT BIG BROWN SES 3166756 113526 S 2,136.80 |CO760211C x
25130 LUMINANT BIG BROWN SES 3166751 118467 § 207.45 |(CO7602 10C x
25130 LUMINANT BIG BROWN SES 3166757 118481 5 225,00 |CO760210C x
25130 LUMINANT BIG BROWN SES 3166753 118912 $ 438.72 |CO760210C x
25130 LUMINANT BIG BROWN SES 3166754 118821 $ 16.50 |CO760211C x
25130 LUMINANT BIG BROWN SES 3167854 89243 $ 1,583.83 [CO760219C x
29136 LUMINANT BIG BROWN SES 3168503 113526 $ 4,452.90 |CO7EQ211C x
3 3168504 117170 5 73.60 [CO760211C x
2168505 118467 $ 90.72 |CO760210C x
3168506 119476 $ 225.00 |CO760210C x
25130 LUMINANT BIG BROWN SES 3169150 89243 $ 1,711.33 |CO760210C x
25130 LUMINANT BIG BROWN SES 3170358 118073 $ 1,596.20 |CO7E0211C x
25130 LUMINANT BIG BROWN SE5 3170359 96185 $ 467.70 |CO760210C x
251340 LUMINANT BIG BROWN SES R750343 CREDCOL1SU $ 4,366.19 |CO760210C
25130 LUMINANT BIG BROWN SES R756809 CREDCO11SU § 4,729.26 1CO760210C
25138 LUMINANT GRAHAM SES 2965774 31552 5 {60.42}}CO7602 10C
25138 LUMINANT GRAHAM SES 3151956 108602 $ 450.00 (CO760210C
25138 LUMINANT GRAHAM SES 3152544 407727 sg 385.00 |CO760211C
25138 LUMINANT GRAHAM SES 3152545 108885 5 288.75 |CO760211C
25138 LUMINANT GRAHAM SES 3483798 108885 § 31.89 |CO7E0Z1I1C
23198 LUMINANT GRAHAM SES 3155113 110746 § 157.25 (CO760210C
25138 LUMINANT GRAHAM SES 3155114 410524 5 225.00 |CO7602 10C
251398 LUMINANT GRAHAM SES 3158090 110211 $ 1,500.76 |CO760210C
25138 LUMINANT GRAHAM SFS 3161267 113473 3 275.00 [CO760710C
25.138 LUMINANT GRAHAM SES 3161268 114745 § 225.00 (CO760210C
25138 LUMINANT GRAHAM SES 3162456 114129 § 1,177.79 [CO760210C x

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“75.138 LUMINANT GRAHAM SES 3164077 115521 5 “225.00 [CO7602 LOC x
35138 LUMINANT GRAHAM SES 3164078 [15716 $ 325.00 |c760210C x
29138 LUMINANT GRAHAM SES 3164079 115843 5 725.00 1C0760210C x
35138 LUMINANT GRAHAM SES 3163574 115696 $ 157.28 [(co760210C x
35148 LUMINANT GRAHAM SES 3165725 17577 § 37170 [coT60211C ¥
25138 LUMINANT GRAHAM SES 3165726 117680 5 67,35 CO760211C x
75138 LUMINANT GRAHAM SES 3165727 g 139.36 |co760211C x
25138 LUMINANT GRAHAM SES 3166755 117577 g 273,71 |CO760211C x
25138 LUMINANT GRAHAM SES 3166756 117680 $ 104.41 |CO760211C x
25138 LUMINANT GRAHAM SES 3166757 g 184.33 [cOv6O211C x
25148 LUMINANT GRAHAM SES 2167260 1133890 5 1,672.06 |CO760210C x
75138 LUMINANT GRAHAM SES 3168725 119420 § 225.00 (CO760210C X
75138 LUMINANT GRAHAM SES 3169726 117681 S 760.00)|CO760211C
25138 LUMINANT GRAHAM SES R750344 CREDCI215U $ 7,508.37 (CO760210C
25138 LUMINANT GRAHAM SES RISEBIO CREDC3215U § 2,464.64 |CO760210C
25144 LUMINANT STRYKER CREEK SES 2975196 29462 § (658.99 CO760210C
25144 LUMINANT STRYKER CRLEK SES 3153799 94282 s 269.96 |C0760210C
25144 LUMINANT STRYKER CREEK SES 3153800 109907 5 92.00 |C0760210C
35144 LUMINANT STRYKER CREEK SES 3153801 109910 $ 675.00 |CO760210C
25144 LUMINANT STRYKER CREEK SES 3153802 109908 g 225.00 |CO760210C
3514d LUMINANT STRYKER CREEK SES 3154428 106668 5 225.00 [CO760210C
35144 LUMINANT STRYKER CREEK SES 3158091 711460 § 92.00 |CO760210C
25144 LUMINANT STRYKER CREEK SES 3160080 104706 § 325,00 [cO760210C
35144 LUMINANT STRYKER CREEK SES 3165729 116947 S 225,00 |CO760210C x
35144 LUMINANT STRYKER CREEK SES 3166296 108329 § 1475.39 (COT60210C x
35144 LUMINANT STRYKER CREER SES 3167855 117433 5 317.60 [(CO760210C x
39144 LUMINANT STRYKER CREEK SES 3169151 120326 S 4,780.66 (COT60211C XK
35144 LUMINANT STRYKER CREEK SES 3169152 720536 S 82.24 (COTHO211C x
25144 LUMINANT STRYKER CREEK SES 3169153 120568 g 705.96 (CO760210C x
25144 LUMINANT STRYKER CREEK SES 3169727 119594 S 92.00 COT60210C x
35144 LUMINANT STRYKER CREEK SES RIS0345 CREDCSS15U 5 2,804.59 (CO760210C
25144 LUMINANT STRYKER CREEK SES R7S6811 CREDCSS 15U g 2,795.78 |CO7602 10C
92962 LUMINANT TRINIDAD 3105926 $ (30.10)}CO760211C
42962 LUMINANT TRINIDAD 2133062 95805 § 364.92 1CO760210C
42962 LUMINANT TRINIDAD 3133062 § (163.58) /CO750210C
42962 LUMINANT TRINIDAD 3155251 104980 S 325.62 (CU760211C
42962 LUMINANT TRINIDAD 3153859 108846 § 388.40 |CO760211C
42962 LUMINANT TRINIDAD 3156914 109152 g 61.14 [CO760211C
42962 LUMINANT TRINIDAD 3157569 109152 5 206.53 (CO7G0211C
42962 LUMINANT TRINIDAD 3163020 715221 § 297.00 |CO760210C x
22962 LUMINAN? TRINIDAD 3163021 15732 $ 42.12 (CO760210C x
42962 LUMINANT TRINIDAD 3168565 119527 g 432.00 (CO7G0210C x
22962 LUMINANT TRINIDAD R745070 CREDCS715U g 845.60 (CO760210C
32962 LUMINANT TRINIDAD R7SLI00 CREDCS715U g 947.98 1CO760210C
42962 LUMINANT TRINIDAD R758189 CREDCS715U g 893.64 (CO760210C
43650 COMANCHE PEAK SES 3044335 $ (0.22)1C07602106
43700 COMANCHE PEAK SES 2046026 S (0.62]/C0760210C
43701 COMANCHE PEAK SES 3059303 g (0.27)(CO760210C
33702 COMANCHE PEAK SES 3158198 80209161156 S 7,884.85 (CO760210C x
43703 COMANCHE PEAK SES 3160144 50800942656 5 1,171.60 (cO760211C
43704 COMANCHE PEAK SES 3160668 $080094 2656 5 444.40 [COTEO211C
43705 COMANCHE PEAK SES 3163565 S0BD0586656 S 4,040.00 (COve0211C x
43706 COMANCHE PEAK SES 3164566 BO209161156 g 7,908.40 [C0760210C x
43707 COMANCHE PEAR SES 3167342 80209161156 § 2,687.47 |CO760210C x
43708 COMANCHE PEAK SES 3170462 0799521606 5 27,142.03 (CO7V60210C x
23971 LUMINANT MAINT 461 MACH SHGP 3163567 115205 g 224.10 [COT0211C %
43971 LUMINANT MAINT 461 MACH SHOP 13166814 118567 § 182.70 [CO7G0210C x
43971 LUMINANT MAINT 461 MACH SHOP 8745200 CREDCAG1SU § 768.81 (CO760210C
23971 LUMINANT MAINT 461 MACH SHOP (2751827 CREDCAG1SU 5 186.72 [CO760210C
43971 LUMINANT MAINT 461 MACH SHOP | R758315 CREDCAGLSU g 179.16 ,CO760210C
44476 LOMINANT LAKE HUBBARD SES 7971393 5 (210.00) /C0760210¢

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44476 LUMINANT LAKE HUBBARD SES 3154516 107871 $ 629.00 |CO760210C

Ad476 LUMINANT LAKE HUBBARD SES 3155743 111413 $ 1,209.75 |CO76O0210C

44476 LUMINANT LAKE HUBBARD SES 3156924 TLLGS6 $ 450.00 (CO760219C

44476 LUMINANT LAKE HUBBARD SES 31613948 114641 $ 238.00 (CO760211C

44476 LUMINANT LAKE HUBBARD SES 3162532 115019 $ 225.06 (CO760210C x
44476 LUMINANT LAKE HUBBARD SES 3162533 115224 4S 226.80 (CO760210C x
44476 LUMINANT LAKE HUBBARD SES 3163026 115019 $ 450,00 |CO7E0210T Xx
44476 LUMINANT LAKE HUBBARD SES 3164151 114753 $ 95.65 |CO7TE0211C x
44476 LUMINANT LAKE HUBBARD SES 3164152 116878 S 314,50 |CO760210C x
44476 LUMINANT LAKE HUBBARD SES 3164664 117154 s 1,243.29 |CO760210C x
44476 LUMINANT LAKE HUBBARD SES 3165794 117383 S 1,126.22 |C0760210C x
44476 LUMINANT LAKE HUBBARD SES 3166818 111494 gS 2,551.94 |C0612597C x
44476 LUMINANT LARE HUBBARD SES 3167988 119019 $ 1,059.93 (CO760210C x
44476 LUMINANT LAKE HUBBARD SES 3168571 120040 5 €9760210C x
44476 LUMINANT LAKE HUBBARD SES 3169224 128848 5 C0760210C. x
44476 LUMINANT LAKE HUBBARD SES R722144 S (43.20)|C07602 10€

44476 LUMINANT LAKE HUBBARD SES R751885 CREDC451SU/14385 5 881.64 1C0760210C

44476 LUMINANT LAKE HUBBARD SES RI58375 CREDC451SU/14385 S 1,103.94 [CO760210C

45274 LUMUNANT FOREST GROVE REG3430 $ 36,00|CO760210C

45274 LUMINANT FOREST GROVE R751968 CREDCO41SU 5 39.68|/C07602 10C

45274 LUMINANT FOREST GROVE R758459 CREDCOS1SU g 48.40)C07602 10€

45667 LUMINANT CEMS 2822895 S (202.95))C0760210C

ASG6G?7 LUMINANT CEMS 3063930 S (98.47)(C97602 10C

45667 LUMINANT CEMS 3117453 75901 s 315.00 [|CO7602 10C

45067 LUMINANT CEMS 3156931 105033 $ 225.00 |CO7602 10C

45667 LUMINANT CEMS 3159633 106592 S 315.00 }CO7E0210C

45667 LUMINANT CEMS 3161357 109878 S 1475.00 1CO?7602 100

45667 LUMINANT CEMS 3162006 109878 & 225.00 (CO7602 10C

45667 LUMINANT CEMS 3163578 109878 5 225.00 [CO760210C x
45667 LUMINANT CEMS 3166820 $ 1,286.00 (CO760210C x
45667 LUMINANT CEMS R752020 CREBC4115U $ 2,575.30 {CO760210C

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TOTAL CLAIM AMOUNT $ 261,575.18
[TOTAL 503(b)(9) CLAIM $ 139,900.60

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., Case No. 14-10979 (CSS)

etal, (lointly Administered)
Debiors.

ATTACHMENT OF RED BALL OXYGEN COMPANY TO
PROOF OF CLAIM

Red Ball Oxygen Company (“Red Ball’) hereby submits this attachment to its proof of
claim (the “Proof™), and in support thereof respectfully show the Court as follows:

I. Red Ball requests allowance and payment of an administrative expense claim
for the value of gases and other welding supplies (collectively, the “Red Ball Goods”) supplied
to Energy Future Holdings Corporation and its affiliated debtors (collectively, the “Debtors™)
within the twenty (20) day period prior to April 29, 2014 (the “Petition Date”), which

amount aggregates $150,227.34 (the “$03(b)(9) Claim”). To support the 503(b)(9) Claim,

attached hereto as Exhibit 1 is a summary of the invoices for the Red Ball Goods. Other
documentation, including the master supply contracts between Red Ball and the Debtors, is
available upon request. Red Ball requests that its 503(b)(9) Claim be allowed and paid in
full.

2. The Goods were delivered to the Debtors in the ordinary course of the
Debtors’ business. The 503(b}(9) Claim is based only on the value of the Red Ball Goods
and not for services. If any additional information is required to substantiate the 503(b)(9)
Claim, then such information will be made available upon request.

3, The service of this Application is without prejudice to any claims,

ATTACHMENT TO RED BALL OXYGEN COMPANY PROOF OF CLAIM - Page 1

Case 14-10979-CSS Doc 4637-5 Filed 06/01/15 Page 7 of 44

defenses, setoffs, recoupment rights, and any other rights that Red Ball may have, whether
prepetition or postpetition, contingent or uncontingent, liquidated or unliquidated, and the
assertion of this Proof shall in no way prejudice or limit the ability of Red Ball to assert any
and all other claims that they may have against the Debtors. Red Ball expressly reserves its
right to amend and/or supplement this Proof as otherwise appropriate, to assert other
administrative expenses or postpetition claims, and to assert prepetition claims of any and all
types and priorities.

Dated: September 29, 2014 CIARDI CIARDI & ASTIN
Wilmington, Delaware

/s/ Joseph J. McMahon,Jr.

Daniel K. Astin, Esq. (No. 4068)

John D. McLaughlin, Jr., Esq. (No. 4123)
Joseph J. McMahon, Jr., Esq. (No. 4819)
1204 N. King Street

Wilmington, DE 19801

Phone: (302) 658-1100

Facsimile: (302) 658-1300
pncemabonw@ciardilaw.com

-and-

McCathern PLLC
Jonathan L. Howell, Esp.
Texas Bar No. 24053668
jhowell@:meccathernlaw.com
Regency Plaza

3710 Rawlins, Suite 1600
Dallas, TX 75219

Phone (214) 741-2662
Facsimile: (214) 741-4717

Counsel to Red Ball Oxygen Company

ATTACHMENT TO RED BALL OXYGEN COMPANY PROOF OF CLAIM - Page 2

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_ MCCATHERN

Section Head - Bankruptey, Restructuring & Creditors’ Rights
thowell ia mecathemlaw.com

May 16, 2014

DEMAND FOR RECLAMATION OF GOODS OR
QUALIFICATION OF SHIPPER/MATERIALMAN ADMINISTRATIVE CLAIM

Via Overnight Mail:

To: Energy Futures Holdings Corp.
Attn: Legal Department
Energy Plaza
1601 Bryan Street
Dallas, Texas 75201

Richards Layton & Finger, P.A.
Attn: Mark D. Collins

920 North King Street
Wilmington, Delaware 19801

Kirkland & Ellis LLP

Attn: Richard M. Cieri

601 Lexington Avenue

New York, New York 10022-4611

Kirkland & Eilis LLP

Attn: James H.M. Sprayregen, P.C.
300 North LaSalle

Chicago, [linois 60654

Re: Jn re Energy Futures Holdings Corp., et al, Jointly Administered Case No. 14-
10979, (Bankr, D. Delaware): Red Ball Oxygen Company's Demand for
Reclamation or Qualification for Shipper/Materialman Administrative Claim

Dear Debtor Representative:

This letter is to provide notice, pursuant to 11 U.S.C. § 546(c)(1), of the reclamation of
goods, comprised of gas and other welding supplies, ordered and received by multiple affiliated
debtors of Energy Futures Holdings Corp. (collectively, “the Debtors”) from Red Ball Oxygen
Company (“Red Ball”) after March 14, 2014 for, among other things, the routine welding
construction or maintenance at the Debtors’ facilities. Enclosed is Schedule A identifying goods
(the “Goods”) aggregating $408,399.70, which were ordered by the Debtors and sold and
shipped by Red Ball in the ordinary course of business but nevertheless remain unpaid. The
Debtors should inunediately stop any use of and segregate the Goods, setting the Goods aside for
pickup by Red Ball. Please confirm promptly that the Debtors will honor this demand, following

3710 Rawlins St, Ste, 1600! Dallas, Texas 75219 | Phone: 214.273.6409 | Fax: 214.723.5986 | mecathernlawcom

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McCathern, PLLC

EFHC — Reclamation Demand
May 16, 2014
Page 2

which we can coordinate a mutually convenient date and time for Red Ball to reclaim possession
of the Goods.

To the extent some or all of the Goods were received by the Debtors on or after April 29,
2014, Red Ball further requests that the Debtors qualify Red Ball as a “Claimant” and the
applicable enclosed orders as “Outstanding Orders,” as those terms are used or defined in the
Order Authorizing the Debtors to (A) Grant Administrative Expense Priority to All Undisputed
Obligations for Goods and Services Ordered Prepetition and Delivered Postpetition and Satisfy
Such Obligations in the Ordinary Course of Business and (B) Pay Prepetition Claims of
Shippers, Warehousemen, and Materialmen, sach that the resulting unpaid invoiced amounts,
less any legitimate offsets, are granted administrative expense priority status in accordance with
1] U.S.C. § 503(b), given that the Goods were, or are being, used primarily by the Debtors for
welding construction or maintenance of their facilities.

Nothing in this demand letter shall constitute a waiver of any rights, remedies, or interests
of Red Ball. Red Ball makes this demand without prejudice to all other rights, remedies, and
interests of, and available to, Red Ball, including, without limitation, Red Ball's right to amend
or supplement this demand letter and to seek the allowance of an administrative expense claim
pursuant to 11 U.S.C. § 503(b)(9).

Yours truly,

MCCATHERN, PLLC

Jonathan L. Howell

JLHAt
Enclosure

ce: Ciardi Clardi & Astin
Attn: Joseph J, McMahon, Jr.
1204 N. King Street
Wilmington, Delaware 19801

Red Ball Oxygen Company
Attn: Bob Ewing

609 N, Market Street
Shreveport, Louisiana 71107
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